             Case 2:16-cr-00113-JLR Document 167 Filed 01/11/21 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7
                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9

10         UNITED STATES OF AMERICA,                     CASE NO. CR16-0113JLR

11                              Plaintiff,               ORDER DENYING
                  v.                                     DEFENDANT’S MOTION FOR
12                                                       RECONSIDERATION
           SANTOS PETER MURILLO,
13
                                Defendant.
14

15         Before the court is Defendant Peter Santos Murillo’s Motion for Reconsideration

16   (Mot. (Dkt. # 166)) of the court’s order denying his Motion for Sentence Reduction

17   (Order (Dkt. # 165)). Motions for reconsideration are disfavored, and the court ordinarily

18   denies such motions unless the moving party shows (a) manifest error in the prior ruling,

19   or (b) new facts or legal authority which could not have been brought to the court’s

20   attention earlier through reasonable diligence. Local Rules W.D. Wash. LCR 7(h)(1).

21         The court has carefully reviewed Mr. Murillo’s motion. It invokes the manifest

22   error test claiming the central issue of the prior motion was how Mr. Murillo’s “mental


     ORDER - 1
              Case 2:16-cr-00113-JLR Document 167 Filed 01/11/21 Page 2 of 2




 1   health condition would be impacted” by “actions taken by the Bureau of Prisons,” and

 2   the court “did not address this specific subject in its ruling.” (Mot. at 2.)

 3           The court discussed Defendant’s mental conditions in its order but did not make a

 4   specific finding about how Defendant’s PTSD and depression might cause suicidal

 5   behavior. (See Order at 1.) The Defendant seizes on the court’s use of the term

 6   “Defendant’s susceptibility to COVID-19” in claiming manifest error. (Mot. at 2.)

 7           The court clarifies its order to respond to Defendant’s allegation of manifest error.

 8   The court was fully aware of Defendant’s suicidal behaviors. Defendant has made it

 9   clear he doesn’t like being in prison with, or without, concerns about COVID-19. The

10   court considered the impact on Defendant’s mental health of BOP’s actions including

11   lockdowns, in response to COVID-19. Despite these considerations, the court’s

12   judgment was, and is, that Defendant’s Motion (Dkt. # 139) should be denied.

13           Mr. Murillo makes neither of the required Local Rule LCR 7(h)(1) showings. (See

14   generally Mot.) The court thus DENIES Mr. Murillo’s Motion for Reconsideration (Dkt.

15   166).

16           Dated this 11th day of January, 2021.

17

18                                                      A
                                                        The Honorable James L. Robart
19
                                                        U.S District Court Judge
20

21

22


     ORDER - 2
